     Case 8:17-cv-00798-CJC-DFM Document 26 Filed 06/16/17 Page 1 of 3 Page ID #:155




 1
 2
 3
 4
 5
 6
 7                            UNITED STATES DISTRICT COURT
 8                           CENTRAL DISTRICT OF CALIFORNIA
 9
      STARBUZZ TOBACCO, INC., a             )              Case No.: 8:17−cv−0798 CJC (DFMx)
10    California Corporation,               )              Honorable Cormac J. Carney
11                                          )
                   Plaintiff,               )
12          vs.                             )              ORDER RE: STIPULATION FOR
13                                          )              DEFENDANTS TO FILE FIRST
      STAR HOOKAH, INC., a California )                    AMENDED ANSWER, AND
14
      Corporation; STAR HOOKAH              )              GRANTING PLAINTIFF AN
15    LOUNGE, INC., a California            )              EXTENSION, IF NECESSARY, TO
16    Corporation; STAR HOOKAH              )              FILE A MOTION TO STRIKE
      HOLLYWOOD, INC., a California         )              AFFIRMATIVE DEFENSES
17    Corporation; NATHAN MADANI, an )
18    individual; and DOES 1-10, inclusive, )
                                            )
19
                   Defendants.              )
20                                          )
21
                                            )
                                            )
22                                          )
23                                          )
                                            )
24                                          )
25                                          )
                                            )
26
27           The Court, having considered the Joint Stipulation for Defendants Star

28    Hookah, Inc., Star Hookah Lounge, Inc., Star Hookah Hollywood, Inc., and

                                                       -1-
       Order Re Stipulation for Defendants to File First Amended Answer and Granting Plaintiff an Extension,
                             if Necessary, To File Motion to Strike Affirmative Defenses
     Case 8:17-cv-00798-CJC-DFM Document 26 Filed 06/16/17 Page 2 of 3 Page ID #:156




 1    Nathan Madani (“collectively “Defendants”) to File First an Amended Answer and
 2    Request for Order Granting Extension of Time for Plaintiff Starbuzz Tobacco, Inc.
 3
      (“Plaintiff”) to File a Motion to Strike Affirmative Defenses, and with good cause
 4
      appearing,
 5
              IT IS HEREBY ORDERED that Defendants shall file an amended answer
 6
 7    amending affirmative defenses numbered 2-14 and 16-20 on or before June 20,
 8    2017.
 9            IT IS HEREBY FURTHER ORDERED that if Defendants fail to file an
10    amended answer amending said affirmative defenses by June 20, 2017, Plaintiff
11
      shall have until June 30, 2017 to file a motion to strike the affirmative defenses.
12
              IT IS HEREBY FURTHER ORDERED that Plaintiff shall have the
13
      option to challenge Defendants’ amended answer pursuant to the Federal Rules of
14
15    Civil Procedure and applicable law.
16            IT IS SO ORDERED.
17
18    Dated: June 16, 2017                           ___________________________
19                                                   Honorable Cormac J. Carney
20                                                   United States District Judge

21
22
23
24
25
26
27
28


                                                       -2-
       Order Re Stipulation for Defendants to File First Amended Answer and Granting Plaintiff an Extension,
                             if Necessary, To File Motion to Strike Affirmative Defenses
     Case 8:17-cv-00798-CJC-DFM Document 26 Filed 06/16/17 Page 3 of 3 Page ID #:157




 1                                CERTIFICATE OF SERVICE
                             CENTRAL DISTRICT OF CALIFORNIA
 2                        Starbuzz Tobacco, Inc. v. Star Hookah, Inc., et al:
 3                             Case No.: 8:17−cv−0798 CJC (DFMx)
 4
             The undersigned certifies that on June 13, 2017, the following documents
 5    and all related attachments (“Documents”) were filed with the Court using the
 6
      CM/ECF system.

 7     [PROPOSED] ORDER RE: STIPULATION FOR DEFENDANTS TO FILE
 8         FIRST AMENDED ANSWER, AND GRANTING PLAINTIFF AN
          EXTENSION, IF NECESSARY, TO FILE A MOTION TO STRIKE
 9
                         AFFIRMATIVE DEFENSES
10
            Pursuant to L.R. 5-3.2, all parties to the above case and/or each attorneys of
11
      record herein who are registered users are being served with a copy of these
12    Documents via the Court’s CM/ECF system. Any other parties and/or attorneys of
13    record who are not registered users from the following list are being served by first
      class mail.
14
15
                                                                     /s/ Natu J. Patel
16
                                                                     Natu J. Patel
17
18
19
20
21
22
23
24
25
26
27
28


                                                       -3-
       Order Re Stipulation for Defendants to File First Amended Answer and Granting Plaintiff an Extension,
                             if Necessary, To File Motion to Strike Affirmative Defenses
